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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
                               BOSTON DIVISION

STUDENTS FOR FAIR ADMISSIONS, INC.,
          Plaintiff,
     v.
                                             Civil Action No. 1:14-cv-14176-ADB
PRESIDENT AND FELLOWS OF HARVARD
COLLEGE,
          Defendant.




                  PLAINTIFF’S MEMORANDUM OF REASONS
            IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT


   Adam K. Mortara                           William S. Consovoy
   BARTLIT BECK HERMAN PALENCHAR             Thomas R. McCarthy
   & SCOTT LLP                               J. Michael Connolly
   54 West Hubbard Street, Suite 300         CONSOVOY MCCARTHY PARK PLLC
   Chicago, IL 60654                         3033 Wilson Boulevard, Suite 700
   312.494.4400                              Arlington, Virginia 22201
   adam.mortara@bartlit-beck.com             703.243.9423
                                             will@consovoymccarthy.com
   John M. Hughes
                                             tom@consovoymccarthy.com
   BARTLIT BECK HERMAN PALENCHAR
                                             mike@consovoymccarthy.com
   & SCOTT LLP
   1801 Wewatta Street, Suite 1200           Patrick Strawbridge BBO #678274
   Denver, CO 80202                          CONSOVOY MCCARTHY PARK PLLC
   303.592.3100                              Ten Post Office Square
   john.hughes@bartlit-beck.com              8th Floor South PMB #706
                                             Boston, MA 02109
   Paul M. Sanford BBO #566318
                                             617.227.0548
   BURNS & LEVINSON LLP
                                             patrick@consovoymccarthy.com
   One Citizens Plaza, Suite 1100
   Providence, RI 02903                      Michael H. Park
   617.345.3000                              CONSOVOY MCCARTHY PARK PLLC
   psanford@burnslev.com                     745 Fifth Avenue, Suite 500
                                             New York, NY 10151
                                             212.247.8006
                                             park@consovoymccarthy.com



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I.      INTRODUCTION

        Students for Fair Admissions (“SFFA”) is entitled to summary judgment on all four counts.

The parties have engaged in extensive discovery and, in cases of this type, summary judgment is often

inappropriate. But sometimes, as here, the record is “so one-sided that one party must prevail as a

matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986). No rational factfinder could

conclude that Harvard’s admissions system complies with Title VI of the Civil Rights Act.

        First, Harvard intentionally discriminates against Asian-American applicants. Incontrovertible

evidence shows that Harvard’s admissions policy has a disproportionately negative effect on Asian

Americans vis-a-vis similarly-situated white applicants that cannot be explained on non-discriminatory

grounds. Harvard discriminates both in subjective scoring and selection for admission to limit the

number of Asian Americans that attend the college. Not only did SFFA’s expert make this finding,

Harvard did too. In 2013, Harvard’s Office of Institutional Research—its highly regarded research

division—conducted an internal investigation and found that Harvard’s admissions system is biased

against Asian Americans. But instead of taking even the most minor steps to address this problem, or

conducting any further investigation, Harvard killed the investigation and buried the reports. Faced

with this (and other) damning evidence, Harvard, sadly, contests the findings on the basis that the

analysis misses a key fact: Asian-American applicants—as a group—have less attractive “personal

qualities” than white applicants. It turns out that the suspicions of Asian-American alumni, students,

and applicants were right all along: Harvard today engages in the same kind of discrimination and

stereotyping that it used to justify quotas on Jewish applicants in the 1920’s and 1930’s.

        Second, Harvard engages in racial balancing. It is unusual for a civil-rights defendant to confess.

Yet Harvard admits its goal is to ensure racial balance, and that it has engineered the admissions

process to achieve that illegal goal. Moreover, statistical evidence independently confirms that Harvard

has set a floor on the admissions rate for African-American applicants. Harvard’s system for achieving



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racial balance is straightforward. Harvard uses “ethnic stats” and other tools to manipulate the process

so that it achieves essentially the same racial balance year over year. If, at the end of the admissions

process, Harvard has admitted more (or less) of any racial group than it did the year before (what it

deems, in violation of Title VI, to be “too many” or “too few”), then it reshapes the class to remedy

the problem. This transparent regime of racial balancing is a flagrant violation of settled law.

        Third, Harvard is not using race to achieve critical mass. Here too, Harvard’s brazenness is

astonishing. Harvard concedes that it has no interest in achieving critical mass and has never given the

concept serious thought. Harvard is adamant that racial preferences are indispensable to its mission—

and always will be. What Harvard will not admit—but what the record shows—is that race is not only

an important factor, it is the dominant consideration in admitting Hispanics and African Americans.

An Asian-American applicant with a 25% chance of admission, for example, would have a 35% chance

if he were white, a 75% chance if he were Hispanic, and a 95% chance if he were African American.

Harvard understands that, under Supreme Court precedent, racial preferences must be time-limited

and can be no more than a “plus” factor in admissions. It just does not seem to care.

        Fourth, Harvard has not considered race-neutral alternatives in good faith. It is hard to fathom

a less serious, after-the-fact charade. Harvard never even considered race-neutral alternatives until this

litigation was threatened. It then formed a committee, quickly abandoned it, and then formed a new

committee at the close of discovery that, almost comically, was comprised of only three people and

whose work was almost entirely outsourced to counsel. And when that committee was presented with

alternatives to racial preferences—alternatives that would make Harvard more diverse and would open

the door of opportunity to more disadvantaged students of all races—the response was cynical, self-

serving, and self-contradictory. The whole process, in sum, was emblematic of Harvard’s longstanding

approach to racial preferences: dissembling from top to bottom to ensure it can continue to racially

engineer its admissions process in direct contravention of Title VI.



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II.     STANDARD OF REVIEW

        “A grant of summary judgment is appropriate when there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Garcia-Garcia v. Costco Wholesale

Corp., 878 F.3d 411, 417 (1st Cir. 2017). “An issue is ‘genuine’ if the evidence of record permits a

rational factfinder to resolve it in favor of either party.” Borges ex rel. S.M.B.W. v. Serrano-Isern, 605 F.3d

1, 4-5 (1st Cir. 2010). Disputes over material facts do not create a triable issue when the evidence is

“so one-sided that no reasonable person could decide” the issue in favor of the non-moving party.

Boston Five Cents Sav. Bank v. Sec’y of Dep’t of Hous. & Urban Dev., 768 F.2d 5, 8 (1st Cir. 1985); see Bailey

v. Dart Container Corp. of Mich., 980 F. Supp. 560, 566 (D. Mass. 1997) (“[D]isputes among the experts

do not necessarily create a genuine issue of material fact.” (citation and quotations omitted)).

III.    LEGAL BACKGROUND

        Under the Equal Protection Clause, racial “classifications are constitutional only if they are

narrowly tailored to further compelling governmental interests.” Fisher v. Univ. of Tex. at Austin, 570

U.S. 297, 309-10 (2013) (“Fisher I”); Grutter v. Bollinger, 539 U.S. 306, 343 (2003) (same for Title VI).

Harvard “must make a showing that its plan is narrowly tailored to achieve the only interest [the

Supreme] Court has approved in this context: the benefits of student body diversity that ‘encompasses

a ... broa[d] array of qualifications and characteristics of which racial or ethnic origin is but a single

though important element.’” Fisher I, 570 U.S. at 314-15. In other words, Harvard must be using race

to “enroll a ‘critical mass’ of minority students.” Grutter, 539 U.S. at 329. It should go without saying,

then, there is no legitimate interest in intentionally discriminating for its own sake—the chief evil the

Equal Protection Clause outlawed. See Rice v. Cayetano, 528 U.S. 495, 517 (2000). Nor can there be a

legitimate interest in “racial balancing, which is patently unconstitutional.” Grutter, 539 U.S. at 330.

        Furthermore, to be narrowly tailored, the use of race in admissions must be “necessary ... to

the accomplishment of [the university’s] purpose.” Fisher I, 570 U.S. at 309. Racial preferences are not



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necessary if, among other things, “a nonracial approach ... could promote the substantial interest about

as well and at tolerable administrative expense.” Id. at 312. The university may not employ racial

preferences unless it has first engaged in “serious, good faith consideration of workable race-neutral

alternatives.” Grutter, 539 U.S. at 339. Put simply, “strict scrutiny imposes on the university the ultimate

burden of demonstrating, before turning to racial classifications, that available, workable race-neutral

alternatives do not suffice.” Fisher I, 570 U.S. at 312.

         Because Harvard uses race as a factor in admissions decisions, SMF ¶¶ 155-290, and accepts

federal funds, SMF ¶ 9, it is subject to Title VI. Harvard thus shoulders the heavy burden of strict

scrutiny. The Court, as a result, must give “close analysis to the evidence of how the process works in

practice,” Fisher I, 570 U.S. at 312-13, to determine whether: Harvard intentionally discriminates

against Asian-American applicants; Harvard engages in racial balancing; Harvard’s use of race is

narrowly tailored to achieving “critical mass”; Harvard has given serious, good faith consideration to

nonracial approaches; and, there are, in fact, no workable, race-neutral alternatives.

IV.      ARGUMENT

         “No rational factfinder could reasonably conclude” that Harvard complies with Title VI. See

Hodgens v. Gen. Dynamics Corp., 144 F.3d 151, 172 (1st Cir. 1998). First, Harvard intentionally

discriminates against Asian-American applicants. Second, Harvard engages in racial balancing. Third,

Harvard’s admissions system is not narrowly tailored to achieving critical mass. Fourth, Harvard

neither gave “serious” and “good faith” consideration to—nor took advantage of—workable

alternatives that could achieve its claimed interest in diversity without discriminating against applicants

on the basis of race.1


         1   The Court already examined the record and ruled that SFFA has Article III standing. Students for Fair Admissions,
Inc. v. President & Fellows of Harvard College (Harvard Corp.), 261 F. Supp. 3d 99 (D. Mass. 2017). The Court thus should
reiterate that Article III standing is no longer a live issue should Harvard seek to relitigate it. See Council of Ins. Agents &
Brokers v. Juarbe-Jiménez, 443 F.3d 103 (1st Cir. 2006); Valentin v. Hosp. Bella Vista, 254 F.3d 358, 363-65 (1st Cir. 2001).
Indeed, there have been no factual developments since the Court ruled to justify revisiting the issue. SFFA has Article III
standing. SMF ¶¶ 1-3.


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        A.      Harvard intentionally discriminates against Asian Americans.

        “The central purpose of the Equal Protection Clause of the Fourteenth Amendment,” and

hence Title VI, “is the prevention of official conduct discriminating on the basis of race.” Washington

v. Davis, 426 U.S. 229, 239 (1976). Intentional discrimination for its own sake has long been illegal.

Pagán v. Calderón, 448 F.3d 16, 35-36 (1st Cir. 2006). “The use of heightened scrutiny for all cases of

racial and sex discrimination implements both the suspicion that such discrimination is almost always

invidious, and the policy that only the strongest reasons justify advantages based on race or sex.” Hsu

By and Through Hsu v. Roslyn Union Free Sch. Dist. No. 3, 85 F.3d 839, 868 (2d Cir. 1996) (citing Loving v.

Virginia, 388 U.S. 1, 10-11 (1967)). In this case, Harvard offers no justification for why it legitimately

may discriminate against Asian-American applicants; instead, Harvard denies it discriminates against

Asian Americans at all. The issue, as a result, is straightforward: does Harvard intentionally penalize

Asian-American applicants?

        On its face, Harvard’s “holistic” admissions policy does not discriminate against Asian

Americans. But facial neutrality will not save a policy when the “intent” is “to accord disparate

treatment on the basis of racial considerations.” Washington v. Seattle Sch. Dist. No. 1, 458 U.S. 457, 484-

85 (1982). A violation therefore may be shown through proof that “the facially neutral policy is applied

in a discriminatory manner.” Anderson ex rel. Dowd v. City of Boston, 375 F.3d 71, 82 (1st Cir. 2004) (citing

Yick Wo v. Hopkins, 18 U.S. 356, 373-74 (1886)). Because “‘smoking gun’ evidence is rarely found in

today’s sophisticated ... world.” Thomas v. Eastman Kodak Co., 183 F.3d 38, 58 n.12 (1st. Cir. 1999),

SFFA “may meet [its] burden through circumstantial evidence.” Acevedo-Parrilla v. Novartis Ex-Lax,

Inc., 696 F.3d 128, 138 (1st Cir. 2012). Given that intentional racial discrimination is “rarely explicit

and thus rarely the subject of direct evidence,” it “may be proven through the elimination of other

plausible non-discriminatory reasons until the most plausible reason remaining is discrimination.”

Thomas, 183 F.3d at 61.



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        Courts “apply the framework articulated” in Village of Arlington Heights v. Metropolitan Housing

Development Corp., 429 U.S. 252, 265-68 (1977), to determine whether a facially neutral policy has “a

discriminatory purpose,” Veasey v. Abbott, 830 F.3d 216, 230 (5th Cir. 2016); see, e.g., Dowd, 375 F.3d at

83. “Under the Arlington Heights criteria an ‘invidious discriminatory purpose’ can be gleaned from,”

inter alia, “a consideration of the following factors: the discriminatory impact of the decision; the

historical background of the attacked decision; the sequence of events leading up to the challenged

action; departure from normal procedural sequences which may afford evidence of improper purpose

and departure from normal substantive considerations.” Schmidt v. Boston Hous. Auth., 505 F. Supp.

988, 993 (D. Mass. 1981). Here, “the totality of the relevant facts, including the fact ... that the [policy]

bears more heavily on” Asian-Americans applicants, Davis, 426 U.S. at 242, demonstrates that Harvard

is intentionally discriminating.

                1.       SFFA’s expert identified statistically significant discrimination against
                         Asian-American applicants.

        Statistical evidence of disproportionate effect is a central feature of Arlington Heights. In rare

cases, a “‘stark’ statistical pattern may serve ‘as the sole proof of discriminatory intent under the

Constitution.’” United States v. Singleterry, 29 F.3d 733, 741 (1st Cir. 1994) (quoting McCleskey v. Kemp,

481 U.S. 279, 293 (1987)). That is, the “statistical evidence of racially disproportionate impact may be

so strong that the results permit no other inference but that they are the product of a racially

discriminatory intent or purpose.” Spencer v. Zant, 715 F.2d 1562, 1581 (11th Cir. 1983). But even

where the statistical pattern is not that stark, evidence showing a disproportionate effect on a particular

racial group, is the “‘important starting point’ for assessing discriminatory intent under Arlington

Heights” and its progeny. Reno v. Bossier Parish Sch. Bd., 520 U.S. 471, 489 (1997) (quoting Arlington

Heights, 429 U.S. at 266). Arlington Heights thus requires examination of “the degree of disproportionate

racial effect, if any, of the policy” and “the justification, or lack thereof, for any disproportionate racial

effect that may exist.” Dowd, 375 F.3d at 83.


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        After reviewing six years of admissions data, Duke Professor Peter Arcidiacono (SFFA’s

expert) found overwhelming evidence that Harvard’s admissions process disproportionately harms

Asian-American applicants. SMF ¶¶ 573-677. Harvard scores applicants on a scale of 1 to 6 (with 1

being the best); admissions officers also can assign a plus or a minus for scores of 2 or 3 to indicate

strength. For example, a “2+” is better than a “2,” which is better than a “2-.” SMF ¶ 79. Each

applicant is given four component ratings and an overall score by the Admissions Office: (1) academic;

(2) extracurricular; (3) athletic; (4) personal; and (5) overall. SMF ¶¶ 80-90. The last, “overall” score,

is not a formulaic compilation of the scores in the other ratings. Instead, Harvard instructs readers to

assign the score by “stepping back and taking all the factors into account and then assigning that

overall rating.” SMF ¶ 99. Harvard selects students for admission from among those applicants with

the most competitive overall scores. SMF ¶¶ 113-119, 124-137.

        Professor Arcidiacono found that Harvard’s admissions system discriminates against Asian-

American applicants in at least three respects. First, he found discrimination in the personal rating.

SMF ¶¶ 606-616. Asian-American applicants are significantly stronger than all other racial groups in

academic performance. SMF ¶¶ 595-597. They also perform very well in non-academic categories and

have higher extracurricular scores than any other racial group. SMF ¶¶ 598-605. Asian-American

applicants (unsurprisingly, therefore) receive higher overall scores from alumni interviewers than all

other racial groups. SMF ¶¶ 603, 616. And they receive strong scores from teachers and guidance

counselors—scores that are nearly identical to white applicants (and higher than African-American

and Hispanic applicants). SMF ¶ 604. In sum, Professor Arcidiacono found that “Asian-American

applicants as a whole are stronger on many objective measures than any other racial/ethnic group

including test scores, academic achievement, and extracurricular activities.” SMF ¶ 605.

        Yet Harvard’s admissions officials assign Asian Americans the lowest score of any racial group

on the personal rating—a “subjective” assessment of such traits as whether the student has a “positive



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personality” and “others like to be around him or her,” has “character traits” such as “likability …

helpfulness, courage, [and] kindness,” is an “attractive person to be with,” is “widely respected,” is a

“good person,” and has good “human qualities.” SMF ¶ 90. Importantly, Harvard tracks two different

personal ratings: one assigned by the Admissions Office and another by alumni interviewers. SMF ¶¶

86-88, 92-93. When it comes to the score assigned by the Admissions Office, Asian-American

applicants are assigned the lowest scores of any racial group. SMF ¶¶ 606-616. There is no excuse for

this, and Harvard cannot offer a single exculpatory explanation that a rational factfinder could accept.

Asian-American applicants to Harvard are just as “helpful,” “courageous,” and “kind” as white

applicants. By contrast, alumni interviewers (who actually meet the applicants) rate Asian Americans,

on average, at the top with respect to personal ratings—comparable to white applicants and higher

than African-American and Hispanic applicants. See infra at 9, 30.

         Any explanation Harvard does offer would be a thinly veiled racial stereotype about Asian

Americans. An example would be the stereotype that Asian Americans are one-dimensionally focused

on academics. Not so. As noted, Asian-American applicants outperform every racial group in the

extracurricular category. But more to the point, the Admissions Office assigns a lower personal rating

to Asian Americans across the entire academic spectrum—from the top of the high school class to

the lowest academic performers who still seek admission to Harvard. SMF ¶¶ 611-613. The disparity

is stark. Asian-American applicants are given a personal rating of 2 or better 22% of the time only in

the top academic-index decile.2 By comparison, white applicants receive a personal rating of 2 or better

22% of the time in each of the top five deciles; Hispanic applicants received this score in each of the

top six deciles; and African-American applicants received this score in each of the top eight deciles.




          2 Harvard assigns each applicant an academic index, which is an objective measure of the applicant’s academic

qualifications. SMF ¶ 78. In organizing the data that Harvard produced, Professor Arcidiacono sorted the applicants by
their academic indexing and then divided them into deciles, or ten-percent increments.


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SMF ¶¶ 614-615. Professor Arcidiacono found nothing in the data Harvard produced that could

account for these low ratings for Asian-American applicants. SMF ¶¶ 606-623.

       Second, Professor Arcidiacono found discrimination in the overall score, which, like the

personal rating, is subjective. SMF ¶¶ 624-628. Asian-American applicants receive overall scores lower

than white applicants in every decile. Indeed, Asian-Americans receive overall scores similar to white

applicants that are one academic decile lower. SMF ¶ 626. More dramatically, African Americans are

significantly more likely to be given a 2 in the overall score than Asian Americans in the same academic

index decile. African Americans, for example, are more than 17 times more likely to be given a 2 than

Asian Americans in the fourth decile, more than 13 times more likely to be given that score in the

sixth decile, more than 8 times more likely to be given that score in the eighth decile, and more than

3 times more likely to be given that score in the top decile. SMF ¶ 627.

       As with the personal rating, the Admissions Office penalizes Asian Americans in the overall

score, but alumni interviewers do not. For example, Asian-American applicants receive overall scores

by alumni interviewers virtually identical to those of white applicants in the top (most competitive)

decile. And, as noted, the same is true of the ratings assigned based on the recommendations of

teachers and guidance counselors. Professor Arcidiacono found nothing in the data Harvard produced

that could account for the low ratings the Admissions Office gives Asian-American applicants on the

overall score. SMF ¶¶ 624-628.

       Third, Professor Arcidiacono found discrimination against Asian Americans in the selection

of applicants for admission. SMF ¶¶ 629-647. If Harvard admitted students based only on their

academic index, Asian Americans would comprise over 50% of the admitted class. SMF ¶ 637. Yet

the Asian-American admit rate is below the total admit rate for every year between 2000 and 2019.

SMF ¶¶ 629-633. That is stunning given that candidates from the higher academic deciles are more

likely to be admitted. SMF ¶ 639. Asian-American admit rates also lag behind the admit rates for other



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racial groups within every decile except one. SMF ¶¶ 640. Even among those applicants with the same

overall score, Asian Americans are less likely to be admitted than any other racial group. SMF ¶¶ 645-

647. Here too, Professor Arcidiacono found nothing in the data that Harvard produced that could

account for these low ratings. SMF ¶¶ 629-647. Thus, even taking “Harvard’s scoring of applicants at

face value, Harvard imposes a penalty against Asian Americans as compared to whites” that “has a

significant effect on an Asian-American applicant’s probability of admission.” SMF ¶ 669.

       Professor Arcidiacono estimated models to test whether the ratings penalty observed in the

data could be explained by other applicant characteristics in the data Harvard produced. The modeling

confirmed bias against Asian-American applicants in the personal rating and overall score. SMF ¶¶

650-663. If Asian-American applicants were treated like white applicants, their chances of receiving a

2 or better on the personal rating would increase by 21%. SMF ¶ 658. Similarly, if Asian-American

applicants were treated like white applicants, their chances of receiving a 2 or better on Harvard’s

overall score would increase by 8%. SMF ¶ 660. The change in the overall score is especially important.

The probability of admission (for all racial groups) increases by over 50% when an applicant’s overall

score moves from 3+ to 2. Put another way, moving from a 3+ to a 2 means that the applicant changes

from likely being rejected to likely being admitted to Harvard. SMF ¶ 662.

       Professor Arcidiacono also estimated models confirming that Asian Americans are penalized

in selection for admission. An Asian-American male applicant with a 25% chance of admission would

see his chance increase to 31.7% if he were white—even including the biased personal rating. SMF

¶ 666. Excluding the biased personal rating from the model, an Asian-American applicant’s chance

would increase to 34.7% if he were white. SMF ¶ 665. Looking at the number of Asian Americans

denied admission because of the bias against them underscores the magnitude of the penalty. If they

had been treated like white applicants, an average of approximately 44 more Asian Americans per year

would have been admitted to Harvard over the six-year period the experts analyzed. SMF ¶¶ 675.



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                2.      Harvard’s own internal investigation found that its admissions system
                        is biased against Asian-American applicants.

        Harvard’s own internal investigation reached the same conclusion as Professor Arcidiacono.

SMF ¶¶ 348-572. In 2013, in the wake of national media allegations that Harvard discriminates against

Asian-American applicants, Harvard’s Office of Institutional Research (OIR)—its highly regarded, in-

house research division—conducted an investigation into Harvard’s treatment of Asian Americans.

The investigation examined a wealth of admissions data, and was conducted in consultation with the

Admissions Office. OIR produced three reports that examined whether Harvard’s admissions system

is biased against Asian Americans. SMF ¶¶ 389-528. Using logistic regression models, OIR concluded

that Harvard’s admissions system is, in fact, biased against Asian Americans and that there is no neutral

explanation for it.

        In conjunction with its first report, OIR produced the following chart:




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SMF ¶ 402. As the chart reflects, OIR found that Asian Americans would comprise 43.4% of the

admitted class under an academics-only model, compared to their actual 18.7% share; it would be

31.4% even after accounting for Harvard’s preference for recruited athletes and legacies; and it would

be 26.0% even after also accounting for applicants’ extracurricular and personal ratings. SMF ¶¶ 403-

416. In other words, Asian-American admissions rates should be substantially higher even accepting

the personal rating at face value. OIR was able to model Harvard’s admissions process accurately only

after adding a “demographics” category. SMF ¶¶ 418. Like Professor Arcidiacono, moreover, OIR

zeroed in on the personal rating, concluding that it “may provide further insight.” SMF ¶ 423.

       In its second report, OIR focused on whether Asian Americans are disadvantaged vis-a-vis

similarly situated white applicants by comparing the admission rates for “non-legacy, non-athlete”

(“NLNA”) applicants. SMF ¶¶ 432-465. OIR produced the following charts:




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SMF ¶¶ 437, 453.

        OIR’s findings are alarming. OIR found that Asian-American admit rates were lower than

white admit rates every year over a ten-year period even though, as the first of these two charts shows,

white applicants materially outperformed Asian-American applicants only in the personal rating. SMF

¶¶ 438-439. Indeed, OIR found that the white applicants were admitted at a higher rate than their

Asian-American counterparts at every level of academic-index level. SMF ¶¶ 441-443. But it is even

worse than that. As the second chart shows, being Asian American actually decreases the chances of

admissions. SMF ¶ 455. Like Professor Arcidiacono, OIR found that preferences for African-

American and Hispanic applicants could not explain the disproportionately negative effect Harvard’s

admission system has on Asian Americans.


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SMF ¶ 502. The table confirms OIR’s previous finding that Harvard penalizes Asian Americans in the

admissions process. SMF ¶ 504. In particular, OIR found that “Asian applicants with an academic 1

or 2 are admitted 12% of the time compared against an admit rate of 18% for non-Asian applicants”;

in other words, “Asian high achievers have lower rates of admission.” SMF ¶ 509. OIR again was

unable to find an explanation for why being Asian was negatively associated with the likelihood of

being admitted. SMF ¶ 510.

        But not only are OIR’s findings proof of intentional discrimination, a decision to maintain a

policy “having foreseeable and anticipated disparate impact” is independent “evidence to prove the

ultimate fact, forbidden purpose.” Columbus Bd. of Educ. v. Penick, 443 U.S. 449, 464 (1979). Employing

a policy that has a disproportionate effect on Asian Americans is bad. “Adherence to a ... policy or

practice,” however, “with full knowledge of the predictable effects of such adherence” is far worse.

Id.; see United States v. Yonkers, 96 F.3d 600, 612 (2d Cir. 1996); Davis v. District of Columbia, 949 F. Supp.

2d 1, 11 (D.D.C. 2013); Baker v. City of Kissimmee, Fla., 645 F. Supp. 571, 587 (M.D. Fla. 1986). Even

beyond that, evidence of a culpable state of mind includes the concealment of data from supervisory

and peer authorities and refusal to investigate further.

        That is what happened. These reports were shared with, among others, William Fitzsimmons

(Dean of Admissions and Financial Aid) and Rakesh Khurana (Dean of Harvard College). Faced with

an internal investigation showing systemic discrimination against Asian-American applicants, Harvard

killed the study and quietly buried the reports. In February 2013, OIR met with Fitzsimmons and

others to discuss the first report’s findings. SMF ¶¶ 426-431. Fitzsimmons sat there silently, “pausing

and reflecting” on what he had just heard. SMF ¶ 427. He asked no questions. He did not request

additional analysis. And he did not discuss OIR’s findings with anyone—not his direct supervisor,

Michael Smith (Dean of the Faculty of Arts and Sciences), nor his close colleague of decades, Marlyn

McGrath (Director of Admissions). SMF ¶¶ 428-431. Later, OIR presented Fitzsimmons with its



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second report, which also found bias against Asian Americans. SMF ¶¶ 466-67. When shown these

findings, Fitzsimmons again asked no questions. He again made no request for further inquiry. He

again refrained from discussing OIR’s findings with anyone, including Smith and McGrath. SMF ¶¶

468-471. Then, as noted above, the issue arose for a third time in the course of OIR’s investigation

into low-income applicants. When OIR showed Fitzsimmons the results regarding low-income

applicants, he was initially “excited to share [the findings] more broadly.” SMF ¶ 483. But he had not

yet seen OIR’s finding that these same data showed a “negative effect for Asian applicants.” SMF

¶ 485. Once he was, Fitzsimmons asked no questions, sought no further analysis, and discussed the

findings with no one. SMF ¶¶ 525-528. Harvard never released its findings regarding Asian-American

applications.3

         Finally, in May 2014, Erin Driver-Linn (Associate Provost for Institutional Research) sent

Khurana a memo “highlight[ing] the Harvard College-related work [OIR] has done since my tenure

began in the office” in advance of him becoming Dean two months later. OIR’s reports concerning

discrimination against Asian Americans were included. SMF ¶¶ 537-538. On July 11, 2014, OIR met

with Khurana to discuss the findings. SMF ¶ 539. Like Fitzsimmons, Khurana asked no questions,

sought no additional analysis, and did not discuss the reports with anyone. SMF ¶¶ 540-543.

         Harvard’s excuses for killing the internal investigation into bias against Asian-American

applicants are embarrassing. As an initial matter, Harvard’s witnesses developed amnesia on the entire

subject at their depositions. When questioned about OIR’s first report, for example, Fitzsimmons

answered: “Some of this information is familiar, but we have lots of interactions with different parts

of Harvard.” So, he was then asked, “[t]he only memory you have about this document is a vague


           3 Another meeting—entitled “Fisher v. University of Texas Discussion #2”—was held in October 2013. It is

unclear who attended, but the invitation list included Fitzsimmons, McGrath, and Harvard’s general counsel. SMF ¶¶ 529-
535. It is unknown what happened at this meeting because Harvard has asserted the attorney-client privilege, and therefore
cannot rely on the meeting or anything that may have been said at it. In any event, there is no evidence that Harvard took
any action in response to this meeting. SMF ¶ 536.


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recollection of seeing it sometime?” Fitzsimmons answered: “That’s the only thing I can say with any

certainty.” SMF ¶ 549. Driver-Linn was asked: “Was OIR asked to do some sort of investigation into

whether or not Asian-Americans were disadvantaged by Harvard’s admissions process?” She

responded: “I don’t know.” SMF ¶ 547. And, Erica Bever (Assistant Director of the Office of

Institutional Research) was asked: “do you recall, during your time at OIR, engaging in any analysis

with respect to how race is used in the admissions process at Harvard?” She answered: “No.” SMF

¶ 544. Indeed, Bever testified that she was drawing “a complete blank on this particular topic.” SMF

¶ 545. Finally, she was asked: “can you explain why you remember all of those details about this

analysis of financial aid from the middle of your tenure at OIR, but you have absolutely no recollection

of the work that was done with respect to analyzing the effect of being Asian in the admissions process

for more than a year in drafts that you shared and distributed throughout OIR?” Bever answered: “I

cannot.” SMF ¶ 546. Khurana’s memory was similarly hazy. SMF ¶ 552.

        Conveniently, after being prepared to provide deposition testimony, the one thing those key

Harvard witnesses all now claim to remember thinking at the time is that the reports were flawed.

Fitzsimmons called OIR’s work “incomplete.” SMF ¶ 555. Khurana recalls thinking that the analysis

was not “done appropriately” because there are “a lot of limitations to doing what are called fitted

models like this.” SMF ¶ 556. For her part, Driver-Linn now believes that OIR had been too

“reductive” in trying “to quantify what’s a very complicated set of things.” SMF ¶ 554. But those key

witnesses never said any of these things in real time, or before extensive consultation with outside

counsel. They did not question the quality or thoroughness of OIR’s findings when they were made.

They did not ask OIR to collect more data, perform further analysis, or conduct a more thorough




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investigation. They just sat there and did nothing as OIR informed them at least four different times that

the Admissions Office is biased against Asian Americans.4

         But Mark Hansen, the (now former) OIR employee remembers far more. He remembers

working with others in OIR on the project. He remembers gathering data, conducting the regression

analysis, collaborating with colleagues, coordinating with the Admissions Office, and discussing the

results of OIR’s investigation with Fitzsimmons and others on multiple occasions. SMF ¶¶ 561-563.

Hansen expressed no concerns with the quality and thoroughness of OIR’s statistical work. Moreover,

he has a clear understanding of the implications of OIR’s findings. Hansen testified that the reports

show that Asian Americans “are disadvantaged in the admissions process at Harvard.” SMF ¶ 564.

And when asked: “Do you have any explanation other than intentional discrimination for your

conclusions regarding the negative association between Asians and the Harvard admissions process?”

Hansen responded: “I don’t.” SMF ¶ 565.

         In the end, Fitzsimmons’s deposition testimony about his response to the OIR investigation

tells the whole story:

         Q. What evidence of Asian discrimination do you think would be sufficient to make
         you concerned and conduct a further investigation?
         MS. ELLSWORTH: Objection.
         A. We are very careful in our admissions process to review each application with great
         care of students from all backgrounds. And we discuss these applicants holistically and
         with all the information that we have with our 40 admissions committee members and
         faculty members, and we would always be vigilant about any suggestion of
         discrimination against any person.



          4 During this litigation, Harvard discovered a new excuse: the OIR reports were “preliminary.” Faust testified:

“So I would say this is an exercise. I would not give it more credibility than being an exercise until I had someone—they
say it’s preliminary, for discussion.” SMF ¶ 558. Harvard’s expert similarly emphasized that “OIR understood that its
models were ‘basic’ and ‘preliminary.’” SMF ¶ 559. Before trotting out this new excuse, however, Harvard must have
forgotten that OIR reports on various topics are almost always marked preliminary. The report Harvard relied on to
reintroduce early action was marked that way. SMF ¶ 383. As was the report on which Harvard relied to change tuition.
SMF ¶ 384. And, as noted, the low-income findings that Fitzsimmons was so excited about were marked “preliminary”
too. SMF ¶ 483. This kind of implausible justification creates a strong inference of discrimination. See Reeves v. Sanderson
Plumbing Prods., Inc., 530 U.S. 133, 147 (2000).


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       Q. Do you think that your testimony about how you reacted to these reports and the
       follow-up that did or did not happen is consistent with your statement just now that
       you would always be vigilant about allegations of discrimination?
       MS. ELLSWORTH: Objection.
       A. Yes.
       Q. Do you think you exercised vigilance, sir?
       MS. ELLSWORTH: Objection.
       A. Yes.
       Q. And do you think it was consistent with the exercise of vigilance not to send any
       of this information to anyone else in the admissions office?
       MS. ELLSWORTH: Objection.
       A. It was not my report.
       Q. Do you think it was consistent with the exercise of vigilance not to discuss the
       information in these reports about the effect on being Asian in the admissions process
       with anyone else in the admissions office?
       MS. ELLSWORTH: Objection.
       A. Could you repeat that question?
       MR. STRAWBRIDGE: You can read it back.
       (Preceding question read).
       A. Yes.
       Q. Do you think it was consistent with vigilance for any allegation of discrimination
       against Asian Americans not to ask the Office of Institutional Research to do further
       work on these reports?
       MS. ELLSWORTH: Objection.
       A. Yes.
       Q. Do you have any view as to what a non-vigilant response would look like?
       MS. ELLSWORTH: Objection.
       A. No.
       Q. Can you explain how it would be any different than what your response was?
       MS. ELLSWORTH: Objection.
       A. I would not be in a position to make an evaluation.

SMF ¶¶ 566-572.

       No rational factfinder could believe that Harvard’s response to the OIR report was “vigilant.”

No rational factfinder could believe that Harvard sought to understand what OIR had found or to


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address it. Harvard’s concealment and non-response to the OIR report is powerful—likely decisive—

evidence that its intentional discrimination against Asian-American applicants was and remained

exactly that: intentional.

                3.       There is ample corroborating evidence of discrimination against Asian
                         Americans.

        There is additional evidence that, both individually and in combination, confirms that Harvard

systematically discriminates against Asian Americans. First, “summary sheets” reveal discrimination.

SMF ¶¶ 678-686 A summary sheet is a short document that is prepopulated with applicant information

(including race) and has a space for comments. SMF ¶ 74. On these sheets, “Harvard readers use the

label ‘Standard Strong’ to characterize an application that had strong qualities but not strong enough

to merit admission.” SMF ¶ 678. Professor Arcidiacono found that: “A review of these summary

sheets reveals that Harvard applies the label ‘Standard Strong’ disproportionately to Asian-American

applicants. Further, the Asian-American applicants who are labeled this way are substantially more

qualified academically than ‘Standard Strong’ applicants from other racial groups.” SMF ¶ 680. “The

‘Standard Strong’ designation,” in particular, “is applied 25% more often to Asian-American applicants

than white applicants.” SMF ¶ 683. “This evidence serves to underscore how the operation of

racial/ethnic preferences penalties work to the detriment of Asian-American applicants.” SMF ¶ 684.

        Second, even from the small (and cherry-picked) sample of summary sheets that Harvard was

required to produce in this case, specific comments on the summary sheets reveal discrimination

against Asian-American applicants. Asian Americans are described as smart and hardworking yet

uninteresting and indistinguishable from other Asian-American applicants. They are described, for

example, as “busy and bright,” SMF ¶ 688, but will “need to fight it out with many similar to [him or

her].” SMF ¶ 690. Their race is rarely seen as a positive factor in the chances of admissions. SMF

¶ 691. By contrast, admissions officers often emphasize the race/ethnicity of African-American and

Hispanic applicants as a positive factor and a reason to admit an applicant. SMF ¶¶ 692-698.


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       Third, Harvard’s reaction to claims of discrimination (and OIR reports showing discrimination)

against Asian Americans contrasts starkly with how it responds to complaints from other minority

groups. When Native Americans raised concerns about their representation on campus, they were

taken seriously. As were the concerns that Latinos and Latinas raised about their representation on

campus. SMF ¶ 345. And when African Americans raised concerns about the campus environment,

Harvard’s response kicked into high gear; Drew G. Faust (President of Harvard University) even wrote

an editorial. SMF ¶ 346.

       Asian-American alumni, students, and applicants, and even at least one Harvard employee,

have been raising similar concerns for many years. SMF ¶¶ 325-333. In 2010, an OIR employee told

Driver-Linn that the admissions process was biased against “his people.” The employee drew that

conclusion after reviewing and analyzing Harvard’s admissions data by race. Driver-Linn told no one

and took no steps to investigate this allegation. SMF ¶ 333. Alumni interviewers also have raised

concerns with Harvard. In an email to Harvard, one wrote:

       [M]y feelings towards Harvard have been slowly changing over the years. I’ve been
       interviewing for the college for almost 10 years now, and in those ten years, none of
       the Asian American students I’ve interviewed has been accepted (or even wait-listed).
       I’m 0 for about 20. This is the case despite the fact that their resumes are unbelievable
       and often superior to those of the non-Asian students I’ve interviewed who are
       admitted. I’ve also attended interviewer meetings where Asian candidates are
       summarily dismissed as “typical” or “not doing anything anyone else isn’t doing” while
       white or other minority candidates with similar resumes are lauded.

SMF ¶ 325. Another alumni interviewer explained that Harvard has “made clear to alumni/ae

interviewers ... that certain African-American or Hispanic candidates were of special interest to

Harvard, and that we should make every effort to recruit and convince those candidates to matriculate

to Harvard,” but that “[n]o such directive, instruction or guidance” had ever been “given for any

Asian-American candidate.” SMF ¶ 331. Yet when Faust was directly asked whether she believes that

“concerns that Harvard’s admissions process disadvantages Asian-Americans need to be addressed,”

she did not mince words: “No, I don’t.” SMF ¶ 347.


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       Harvard’s attitude is unsurprising given how admissions officials talk about Asian-American

applicants when they think no one’s listening. SMF ¶ 334-345. Three examples stand out. In January

2014, the Utah alumni chapter notified Harvard that they had “met this morning to discuss and rank

the Utah applicants who applied regular action for the Class of 2018, as well as the early action

applicants who were deferred.” SMF ¶ 338. The committee then identified the students who received

their highest ranking. McGrath, who chairs Docket B (which includes Utah), forwarded the email to




                      SMF. ¶ 339. That year, Harvard admitted nine students from Utah. Only two

were Asian American. SMF ¶ 340.

       In April 2014, a high-school student from New York, wrote Faust to express deep concern

about media reports of discrimination against Asian Americans, and to seek assurances that Harvard—

a university she had “always admired”—was not discriminating against Asian Americans. SMF ¶ 335.

Upon receiving the letter, Harvard officials (inaccurately) questioned whether she “really [was] a high

school student” because the letter was so well-written. Harvard decided to send the student a “generic

response ... saying that the President’s Office is not involved in admissions, and [she] should contact

the Admissions Office.” McGrath, in turn, promised to “give our own dumb answer if she contacts

us.” SMF ¶ 336.

       Finally, in 2012, Faust received a letter from an alumnus making racist statements about Asian-

American applicants. Specifically, the alumnus urged Harvard to adopt “informal quotas.” Such quotas

“would include foreign students and the country of their origin. For example, I would limit the number

of Japanese students to a certain percentage or number .... None of this, of course, has to go beyond

the confines of the dean’s office. The last time I was in Cambridge it seemed to me that there were a



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large number of oriental students, for example. I think they probably should be limited to 5%.... I

would appreciate hearing what you might think of my comments.” SMF ¶ 341. McGrath responded

(with a carbon copy to Faust): “President Faust has asked me to respond to your April 4 letter, in

which you offer many thoughtful observations about Harvard College students and the results of the

admissions process.... All of us at Harvard appreciate your thoughtful letter, as well as your loyalty

over the years.” SMF ¶ 342.

       Faust was comfortable with McGrath sending this “polite and respectful response” because

“[t]his is a letter from a 90-year-old alum who’s given some kind of support to scholarships. He

graduated with the class of 1942. He probably went off and fought in World War II. His letter is

preposterous, but there’s just no reason to tell him his letter is preposterous.” SMF ¶ 343. At her

deposition, Faust refused to answer whether a letter saying the same thing about African Americans

would have deserved a similar “polite and respectful” response. Nor would she speculate how Asian-

American students might react to the letter, because they “have not seen these letters …. [T]hese are

matters of personal correspondence that are not matters of public scrutiny.” SMF ¶ 344. McGrath

likewise has “no regret” about her response. Id.

               4.      Harvard has a history of intentional discrimination against minorities.

       Harvard’s discrimination against Jewish students is the original sin of holistic admissions. SMF

¶¶ 21-38. In the early 1920s, Harvard’s leaders (including President Abbott Lawrence Lowell) and

prominent alumni became increasingly alarmed by the growing number of Jewish students who were

passing the required examinations and enrolling at Harvard. SMF ¶¶ 22-27. To evaluate the “problem,”

Harvard, inter alia, adopted a system for identifying which students were Jewish. Those who were

suspected of being Jewish were identified as “J.1,” “J.2,” or “J.3,” depending on Harvard’s view of

how likely they were to be Jewish. SMF ¶ 28. According to President Lowell:

       [T]he Hebrew question is a knotty one, and a source of much anxiety…. The summer
       hotel that is ruined by admitting Jews meets its fate, not because the Jews it admits are


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        of bad character, but because they drive away the Gentiles, and then after the Gentiles
        have left, they leave also. This happened to a friend of mine with a school in New
        York, who thought, on principle, that he ought to admit Jews, but who discovered in
        a few years that he had no school at all…. In all these cases it is not because Jews of
        bad character have come; but the result follows from the coming in large numbers of
        Jews of any kind, save those few who mingle readily with the rest of the undergraduate
        body.

SMF ¶ 23.

        President Lowell eventually came to understand that openly setting a quota on Jewish students

would trigger opposition and resistance. Harvard’s faculty and governing boards thus “would prefer

to make a rule whose motive was less obvious on its face, by giving to the Committee on Admission

authority to refuse admittance to persons who possess qualities described with more or less

distinctness and believed to be characteristic of the Jews.” SMF ¶ 25. Harvard took three steps to hide

but still achieve its discriminatory goal. First, Harvard limited its incoming class to 1,000 students.

Second, Harvard eliminated a rule that had required it to admit students who were in the top seventh

of their graduating class. Third, Harvard resolved to place “greater emphasis on selection based on

character and fitness, and the promise of the greatest usefulness in the future as result of a Harvard

education.” SMF ¶ 36.

        In 1926, Harvard implemented its new admissions system, and released a statement explaining

its decision:

        The whole record does include evidences of the candidate’s character, personality, and
        promise …. Race is a part of the record. It is by no means the whole record and no
        man will be kept out on grounds of race. [I]f there should result in fact any substantial
        change in the proportion of groups in the College following application of [this] test,
        this will be due, not to race discrimination or any quota system, but to the failure of
        particular individuals to possess as individuals those evidence of character, personality
        and promise which weighed with other evidences render them more fit than other
        individuals to receive all that Harvard has to offer. Of course there will be criticisms.
        It will be said that Harvard is discriminating on grounds of race. That will not be true.

SMF ¶ 37.




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         This was a lie. In 2015, Harvard finally acknowledged that “[u]nder the presidency of Abbott

Lawrence Lowell (1909-1933), the Harvard administration restricted the numbers of Jewish students”

admitted to Harvard. SMF ¶ 40. Lowell is still held in high honor by Harvard. Lowell House, one of

the twelve undergraduate houses at Harvard University, bears his family name. A bust of President

Lowell sits in Lowell Courtyard and his portrait hangs for all students to see in the Lowell Dining Hall.

SMF ¶ 46.5

         Harvard’s discriminatory past is more distant than in many cases in which history is used as

an Arlington Heights factor. But see Perkins v. City of W. Helena, Ark., 675 F.2d 201, 211 (8th Cir. 1982).

At the same time, “the parallels are striking.” Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d 581, 608 (2d

Cir. 2016). Harvard uses essentially the same admissions system Lowell implemented and refined

between 1926 and 1933 for the precise purpose of limiting the number of Jewish students. SMF ¶ 39.

That “holistic” system has kept Asian-American admissions at or under 20% year over year (except

for minor increases in the wake of enforcement proceedings and civil litigation) despite every neutral

criterion indicating that their share of the admitted class should be much higher.

         Yet Fitzsimmons testified, without any hint of irony, that there is no cause for concern because

it simply is “impossible to abuse” Harvard’s “admissions process.” SMF ¶ 45. That answer is a farce.

The process is readily subject to manipulation, as history and the data amply demonstrate. The data

showed massive discrimination against Asian Americans—and Harvard knew it. However, Harvard’s

response (unlike its aggressive response to concerns other minority groups raised) was to kill the

investigation and bury the findings. Instead of taking this seriously, officials traded emails about top


          5 Bizarrely, Faust and Fitzsimmons refused to acknowledge Harvard’s anti-Semitic history. Faust stated: “I’m a

historian. I would not rely on the interpretation of a single historian unchallenged. I have not done that historical work
myself, and therefore I would not presume to make judgment about its accuracy.” SMF ¶ 42. Faust claimed to “not know”
that Harvard had researched those allegations and had admitted them during her presidency. Id. Of course, when it came to
“mismatch” research, i.e., studies showing that minority students “were being admitted to institutions for which they were
not qualified and that this was disservice to them,” Faust was quick to call the work “entirely discredited” even though she
had not researched it herself. SMF ¶ 43. Fitzsimmons was familiar with the allegations but had no “independent
corroboration” of them. SMF ¶ 44.


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Utah candidates being “                                                          and felt comfortable

referring to a letter pushing for “informal quotas” on Asian Americans as “thoughtful” because, like

Lowell, they assumed no one would see their “personal correspondence.” And that was merely the

evidence SFFA was lucky enough to uncover because Harvard’s email archive captured it.

                5.      No rational factfinder could accept Harvard’s justifications for its
                        discrimination against Asian-American applicants.

        In light of this evidence, especially the disproportionate effect of Harvard’s policy on Asian-

American applicants, Harvard must prove that it can all “be plausibly explained on a neutral ground.”

Personnel Adm’r of Mass. v. Feeney, 442 U.S. 256, 275 (1979). But Harvard cannot come close to creating

a triable issue—let alone cobbling together a case strong enough to win. Harvard’s response is, frankly,

pathetic. The only conclusion for a rational factfinder to draw is that the harm Asian-American

applicants suffer as a result of Harvard’s admissions policies is “unexplainable on grounds other than

race.” Miller v. Johnson, 515 U.S. 900, 913 (1995).

        Harvard essentially relies on one witness: its expert, Professor David Card. Importantly,

Professor Card does not dispute Professor Arcidiacono’s mode of analysis or his calculations. SMF

¶¶ 746-747. He agrees that Asian Americans have strong qualifications across every category except

the personal rating, and he does not dispute that Professor Arcidiacono’s findings comport with OIR’s

findings. SMF ¶ 746. Professor Card also acknowledges that, applying Professor Arcidiacono’s

assumptions, there is a statistically significant disproportionate effect on Asian-American applicants.

SMF ¶ 789. Professor Card just makes different “modeling choices.” SMF ¶ 748. But his choices are

indefensible. All “Professor Card has demonstrated [is] that it is possible to mask the true effects of

race in Harvard’s admission process by changing the scope of the analysis in incorrect ways and

choosing inappropriate combinations of control variables.” SMF ¶ 790.

        First, Professor Card refuses to exclude “special category” applicants—recruited athletes,

children of faculty and staff, applicants who are on the Dean’s List or Director’s List, and legacies—


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from his data set. SMF ¶ 750. Of course, before there was litigation, OIR did exactly what Professor

Card now refuses to do in his analysis. The reason that OIR and Professor Arcidiacono excluded these

groups is evident. The task here is to determine whether “similarly situated” applicants have been

treated differently on the basis of race; “apples should be compared to apples.” SBT Holdings, LLC v.

Town of Westminster, 547 F.3d 28, 34 (1st Cir. 2008). Because certain applicants are in a special category,

it is important to analyze the effect of race without them included. Excluding them allows for the

effect of race to be tested on the bulk of the applicant pool (more than 95% of applicants and more

than two-thirds of admitted students) that do not fall into one of these categories, i.e., the similarly-

situated applicants. SMF ¶ 592. For special-category applicants, race either does not play a meaningful

role in their chances of admission or the discrimination is offset by the “significant advantage” they

receive. SMF ¶ 753. Either way, they are not apples.

        Professor Card’s inclusion of these applicants reflects his position that “there is no penalty

against Asian-American applicants unless Harvard imposes a penalty on every Asian-American

applicant.” SMF ¶ 750. But he is not a lawyer and he is wrong. It is illegal to discriminate against any

Asian-American applicant or subset of applicants on the basis of race. Professor Card cannot escape

that reality by trying to dilute the dataset. The claim here is not that Harvard, for example, “penalizes

recruited athletes who are Asian-American because of their race.” The claim “is that the effects of

Harvard’s use of race occur outside these special categories.” SMF ¶ 751. Professor Arcidiacono thus

correctly excluded special-category applicants to isolate and highlight Harvard’s discrimination against

Asian Americans. Professor Card, by contrast, includes “special recruiting categories in his models”

to “obscure the extent to which race is affecting admissions decisions for those not fortunate enough

to belong to one of these groups.” SMF ¶ 752. At bottom, SFFA’s claim is that Harvard penalizes

Asian-American applicants who are not legacies or recruited athletes. Professor Card has shown that

he is unwilling and unable to contest that claim.



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        Second, Professor Card also refused to exclude Harvard’s personal rating in his models—

despite the clear finding yielded by Professor Arcidiacono’s analysis (and OIR) that this rating is

tainted by strong evidence of racial bias. SMF ¶ 759. Instead, he accepts the personal rating as non-

discriminatory on the assumption that Asian-American applicants have weaker “personal qualities”

based on “individualized ‘unobservable’ factors that cannot be quantified by a statistical model.” SMF

¶¶ 761-762. In his view, “unobserved factors” like “recommendation letters and the applicants’

personal essays”—not racial bias—explain the difference in personal ratings between Asian-American

and white applicants, and, in turn, the difference in their chances of admission. SMF ¶¶ 762-763.

Professor Card finds that white applicants are more likely to be multi-dimensional than their Asian-

American counterparts and hence are more attractive candidates. SMF ¶ 761. Again, by candidates

with more attractive personal qualities, he means Asian Americans have, among other things, a less

“positive personality,” “others like to be around” them less, they have worse “character traits” such

as “likability … helpfulness, courage, [and] kindness,” they are not “attractive [people] to be with,”

they are not “widely respected,” and they have worse “human qualities.” SMF ¶ 90. According to

Professor Card, it is not that Asian Americans are victims of racial discrimination. They suffer in the

admissions process because white applicants have better personalities. Professor Card’s claim is not

only offensive racial stereotyping, but it is legally and factually untenable.

        Legally, Harvard has conceded that it may not rely on information concerning aspects of its

admissions process not produced in discovery. Harvard resisted producing a statistically significant

sample of application files that would have afforded SFFA access to essays, recommendations, and

other information not captured by the data Harvard turned over to SFFA instead. In so doing, Harvard

recognized that it would be “constrained in the same way” as SFFA, that this is a balance and we have

to live by whatever it is that the Court rules just as the other side does.” Doc. No. 173, July 20, 2016

Hearing Transcript at 25-26 (statement of Harvard counsel). Harvard understood that, by resisting



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production of this information, it would not be permitted to “haul out at trial something that we have

refused to produce to them, and Your Honor has upheld, as a way of defending the case.” Id. at 27.

Yet that is precisely what Professor Card’s report does. “For example,” Card asserts, “testimony in

the record indicates that the applicant’s essay is an important consideration in the personal rating, but

there is no quantifiable measure of the essay in the data I analyze. This means that the disparity Prof.

Arcidiacono labels ‘bias’ may very well be explained by factors other than race that the model does

not include.” SMF ¶ 764. Essentially, Professor Card claims that SFFA’s expert analysis is incomplete

because it fails to consider the very information Harvard fought, and was permitted, to withhold (yet

now seeks to rely on).

        Regardless, no rational factfinder could accept this finding that Asian-American applicants

have inherently worse personal qualities than white applicants. Professor Card’s hypothesis is rebutted

by every relevant fact witness. SFFA asked Fitzsimmons, McGrath, and other Harvard officials

whether Asian Americans have personal qualities that make them, as a group, less attractive candidates.

SMF ¶¶ 617-623. They all flatly disclaimed the suggestion. See id. When Fitzsimmons was asked

whether “Asian Americans have fewer attractive personal qualities than white students,” he

responded: “That wouldn’t be my impression.” SMF ¶ 617. “In your experience,” McGrath was asked,

“do Asian Americans as a group lack attractive personal characteristics compared to other applicants?”

She answered: “No, I don’t think so.” SMF ¶ 618. The other testimony is all the same. SMF ¶¶ 619-

623. Indeed, one of Harvard’s own experts, Dr. Ruth Simmons, former President of Brown University,

described concerns that Asian Americans were not as well rounded because of their cultural focus on

academics as “balderdash,” and testified that, in her experience, Asian-American students were not

any less personable than other racial groups. SMF ¶ 620. Not one witness—including Admissions

Office leadership—would testify in support of Professor Card’s assumption that Asian Americans




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have weaker “personal qualities” based on “individualized ‘unobservable’ factors that cannot be

quantified by a statistical model.” SMF ¶ 762.

        A study of Stuyvesant High School in New York is illustrative. SMF ¶¶ 702-715. Stuyvesant is

considered one of the top high schools in the country. SMF ¶ 702. What makes Stuyvesant especially

relevant here, however, is that over 70% of its students are Asian American and it is considered a

Harvard feeder school, routinely sending over ten students per year to Harvard—but generally less

than half of whom are Asian American. SMF ¶¶ 702, 713-715. Therefore, the fact that Stuyvesant’s

white students have a far better chance of being admitted to Harvard than their Asian-American peers,

SMF ¶¶ 714-715, is deeply troubling. When shown these data in her deposition, Stuyvesant’s Director

of College Counseling broke down in tears. To her, this looks “like there’s discrimination, and I love

these kids and I know how hard they work. So these just look like numbers to all of you guys, but I

see their faces.” And she firmly rejected the notion that “the Asian kids are less well rounded than the

white kid.” Ultimately, Stuyvesant’s Director of College Counseling agreed that “it’s hard to think of

anything other than discrimination that could account for this.” SMF ¶ 716.

        Moreover, as noted above, ratings given by alumni interviewers “do not show this pattern.”

SMF ¶ 616. Alumni interviewers, who actually meet the applicants, found that Asian Americans have

personal qualities on par with white applicants. The scores submitted by teachers and counselors, who

likewise interact with the students, also show Asian-American applicants as having personal qualities

that are comparable to white applicants. SMF ¶ 604. It is only the Admissions Office’s staff—who

rarely if ever meet these applicants—who systematically rate Asian Americans as having less attractive

personal qualities. This discrepancy is all the more concerning because, absent a logical reason, it is

expected that unobserved characteristics will move in the same direction as observed characteristics.

SMF ¶ 765. That is, because Asian Americans have stronger academic and extracurricular ratings than

any other racial group, they ordinarily would be expected to have stronger personal ratings too. See id.



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But “Asian-American applicants have observed characteristics associated with higher personal ratings

yet receive a penalty in their personal ratings, and African-American and Hispanic applicants have

observed characteristics associated with lower personal ratings yet receive a preference in their

personal ratings.” Id.

        When confronted with this evidence, Professor Card instead claimed that it is not “relevant

for [his] statistical model” because there “must be some unobserved characteristics” that drive the

differences in personal ratings between white and Asian-American applicants. SMF ¶ 765. But when

pressed to state directly what those characteristics might be, he demurred. When asked why Asian

Americans might have “less attractive personal qualities than white applicants,” Professor Card

confessed he had “no way of knowing that.” SMF ¶ 766. When asked if he has “reason to believe that

Asian Americans are not as effervescent as whites in Harvard’s applicant pool,” Professor Card said

he had “no way of knowing that.” SMF ¶ 767. He just said his “understanding is that the readers look

for something they call personal qualities. And I don’t exactly know what those are but they—they

talk about that in some of the materials I’ve seen. And so I think that I what would probably believe

to be true is that they see slightly fewer personal qualities conditional on academic qualities.” SMF

¶ 768. But when asked “why do you think that’s the case,” Professor Card said: “I don’t know exactly.”

SMF ¶ 766. And when asked what reason other than racial bias “could there be for why the white

applicants in Harvard’s pool receive higher personal ratings than the Asian American applicants,”

Professor Card threw up his hands: “I don’t really—I haven’t really given that any thought directly.”

SMF ¶ 770. Professor Card was confident because he “was able to ask Dean Fitzsimmons directly in

a telephone conversation if race was involved in the personal rating ... and he said no.” But when

asked: “Did you do anything to verify his testimony?” Professor Card answered: “No.” SMF ¶ 772.

        Professor Card’s claim that Asian-American applicants, as a group, have weaker personal

qualities than white applicants is sad but predictable. Because of the damning statistical evidence,



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Harvard is forced to argue that the wealth of data maintained in its database for each applicant

somehow fails to account for the fact that there really is something systematically inferior about the

personal qualities of Asian-American applicants. These are the “gross racial stereotype[s] or anecdotal

generalization[s]” courts often see from those confronted with proof of their own bias. United States v.

Greene, 36 M.J. 274, 279 (C.M.A. 1993). It is disquieting—but not surprising—that Harvard would

indulge racial stereotypes to preserve their “self-concept as nonprejudiced persons.” Thomas E. Ford,

Effects of Stereotypical Television Portrayals of African-Americans on Person Perception, 60 Soc. Psychol. Q. 266,

272 (1997). But the Court may not indulge Harvard’s self-deception. “Racial stereotyping cannot be

condoned in civil cases.” Bird v. Glacier Elec. Coop., Inc., 255 F.3d 1136, 1151 (9th Cir. 2001). No rational

factfinder could accept this kind of disreputable testimony over Professor Arcidiacono’s compelling

empirical findings.6

                                                  *         *        *

         The Arlington Heights framework exists because of “the reality that intentional discrimination

is often difficult to prove without significant reliance on circumstantial evidence. Rarely will there be

direct evidence from the lips of the defendant proclaiming his or her racial animus.” Robinson v. Runyon,

149 F.3d 507, 513 (6th Cir. 1998). That is especially true when the discrimination is attributable to

racial stereotyping, which is notoriously difficult to prove through direct evidence. It “can often be of

such a subtle, insidious character that a plaintiff may only be able to offer circumstantial evidence to

buttress his or her claim.” Conway v. Electro Switch Corp., 825 F.2d 593, 597 (1st Cir. 1987). “Indeed, it

is unlikely today that an actor would explicitly discriminate under all conditions; it is much more likely

that, where discrimination occurs, it does so in the context of more nuanced decisions that can be

explained based upon reasons other than illicit bias, which, though perhaps implicit, is no less


          6 Professor Card has other minor quibbles with a few of the Professor Arcidiacono’s modeling choices. SMF

¶¶ 773-786. These quibbles all miss the mark. See id. But they are immaterial, in any event, unless Professor Card somehow
prevails in including both “special category” applicants and the personal rating. SMF ¶¶ 787-790.


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intentional.” Woods v. City of Greensboro, 855 F.3d 639, 651-52 (4th Cir. 2017). “Invidious discrimination

steeped in racial stereotyping” thus “is no less corrosive of the achievement of equality than invidious

discrimination rooted in other mental states.” Id. at 651. “It is the very assumption that persons are,

inevitably, readily identifiable as typical examples of a particular culture or creed, that defines a

stereotype, and reveals prejudice in the mind of a proponent of that stereotype.” Hall v. Ala. Ass’n of

Sch. Bds., 326 F.3d 1157, 1171 (11th Cir. 2003).

        So it is here. Something more insidious than racial stereotyping may be at work—at least

among Harvard’s leadership. Ultimately, though, SFFA is not required to prove that Harvard acted

with an evil heart or to find a smoking gun to prevail on summary judgment. The legal issue, applying

the Arlington Heights framework, is whether it is more likely than not that Harvard discriminates against

Asian-American applicants. In light of the statistical, documentary, and testimonial evidence amassed

against Harvard, no rational factfinder could conclude otherwise.

        B.      Harvard engages in racial balancing.

        Harvard is not entitled “‘to assure within its student body some specified percentage of a

particular group merely because of its race or ethnic origin.’” Grutter, 539 U.S. at 329 (quoting Regents

of Univ. of Cal. v. Bakke, 438 U.S. 265, 407 (1978) (opinion of Powell, J.)). “Racial balancing,” moreover,

“is not transformed from ‘patently unconstitutional’ to a compelling ... interest simply by relabeling it

‘racial diversity.’” Fisher I, 570 U.S. at 311 (quotation omitted). Evidence that a school seeks

“proportional representation” is proof of racial balancing, i.e., that the school’s goal is to “achieve a

racial/ethnic ‘mix’ that it considered desirable” instead of treating applicants as individuals. Wessmann

v. Gittens, 160 F.3d 790, 798 (1st Cir. 1998). “This working backward to achieve a particular type of

racial balance rather than working forward from some demonstration of the level of diversity that

provides the purported benefits, is a fatal flaw under our existing precedent.” Parents Involved in Cmty.

Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 729 (2007) (plurality opinion).



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¶ 193. Even at this early stage, in other words, Harvard is thinking about applicants strictly competing

against applicants of their own race for admission.

       This process continues as Harvard meticulously balances the composition of the class through

the review and subcommittee process.



                                                                   To create the total target number,

according to McGrath, “we look at the various categories of aspects of candidates and try to imagine

what’s the difference between [the prior year’s] pool and those characteristics that would … be

reflected in the yield, and this year’s about-to-be-admitted group, what we think is happening with

it.… [T]he number we are shooting for is determined well before we have a final class in mind. But

we know what the pool looks like, and know roughly where it might head.” SMF ¶ 108. The

Admissions Office then creates target numbers for each subcommittee, which represent the number

of students that each geographic docket can tentatively admit. SMF ¶¶ 110-112. The racial breakdown

of the prior year’s admitted class is among the various characteristics that Harvard considers in

establishing its targets. SMF ¶¶ 230. That is, Harvard works from the assumption that the racial

breakdown of the admitted class will remain unchanged. See id.

       Notably, right before subcommittee meetings begin (and right before Fitzsimmons sets the

total target number and subcommittee target numbers), a representative from Harvard (known as an

“Institutional Liaison”) attends a conference of the Association of Black Admissions and Financial

Aid Officers of the Ivy League and Sister Schools (“ABAFAOILSS”). The conferences are attended

by representatives from Harvard and 15 other schools, including Columbia, Cornell, Dartmouth, MIT,

Princeton, Stanford, the University of Pennsylvania, and Yale. At each conference, the Institutional

Liaisons attend a “Round Robin” meeting. The purpose of the Round Robin meetings is for schools

to share with one another their non-public admissions numbers by race from the current admissions



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cycle. Institutional Liaisons are not permitted to attend Round Robin meetings unless they are willing

to share their school’s admissions statistics. SMF ¶¶ 719-722.

        At the meetings, admissions statistics are shared in an unusual fashion. Institutional Liaisons

from the 16 schools sit around a large table and take turns reading aloud their school’s admissions

numbers by race. Each Institutional Liaison reads three categories of information for each racial group:

the number of applications the school received, the number of admitted students to date, and the

number of matriculated students to date. Institutional Liaisons provide these statistics in seven racial

categories: Black, Asian, Native American, Latino, Multi-Racial, Other, and Total. As each college’s

admissions statistics are read aloud, Institutional Liaisons record the statistics by hand on a preprinted

form. It typically takes about 30 minutes for the Institutional Liaisons to read and record admissions

numbers. There is no commentary during this 30 minutes. After these numbers are read, there is 30

minutes of discussion, and then the meeting ends. SMF ¶¶ 723-728. Fitzsimmons receives the statistics

from the Round Robin meetings. He testified that he finds them “useful” for understanding what is

happening at Harvard’s peer schools. SMF ¶ 229.

        Harvard’s racial balancing reaches full steam in the full-committee process. SMF ¶¶ 246-264.

Periodically, and especially as the full committee is finalizing the admitted class, Fitzsimmons and

McGrath receive “one-pagers” containing the current and prior year admissions statistics by race. SMF

¶¶ 239-245.




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                                           Any final adjustments are then made through the “lopping

process”—Harvard’s name for the “fine-tuning” that is done near the end to reduce the admitted class

to the                   SMF ¶ 256. The “lop list” includes five pieces of information, and race is one

of them. SMF ¶ 257. When deciding which students to lop,



                             As McGrath testified,




         This is blatant racial balancing. Fitzsimmons’s claim that

                                                                                       is untenable. Not

only is there overwhelming evidence that Harvard is racially engineering the class. But that justification

is belied by Harvard’s need to accurately project how many students will accept their offer—i.e., the

yield rate. SMF ¶¶ 105-107. Harvard faces “real logistical problems” if too many applicants accept

Harvard’s offer because it must house them all, and there is a finite number of beds. SMF ¶ 105. The

Admissions Office thus is hyper-focused on accurately predicting its yield rate and depends on the

accuracy of that prediction in establishing its admissions targets for each docket. SMF ¶¶ 106-107.



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approximates or exceeds the overall admission rate. “The chance of this match occurring in three

consecutive years (without direct manipulation) is less than two-tenths of one percent—making it a near

certainty that Harvard was purposely setting a floor on the admission rate of those applicants.” SMF

¶ 720. Harvard broke its promise to never “set target-quotas for the number of” African Americans

in order to ensure that it admits “a minimum number” of applicants from that racial group. Bakke,

438 U.S. at 316 (opinion of Powell, J.) (quoting Harvard Plan).

        C.      Harvard is not using race to achieve critical mass.

        Racial preferences are narrowly tailored only if they are being used to enroll a “critical mass of

underrepresented minority students ... so as to realize the educational benefits of a diverse student

body.” Grutter, 539 U.S. at 318; see Smith v. Univ. of Wash., 392 F.3d 367, 373 (9th Cir. 2004). A college

should not “specify the particular level of minority enrollment at which it believes the educational

benefits of diversity will be obtained” because critical mass is not “a goal that can or should be reduced

to pure numbers.” Fisher v. Univ. of Tex. at Austin, 136 S. Ct. 2198, 2210 (2016) (“Fisher II”). “As the

Harvard plan described by Justice Powell recognized,” however, “there is of course some relationship

between numbers and achieving the benefits to be derived from a diverse student body, and between

numbers and providing a reasonable environment for those students admitted.” Grutter, 539 U.S. at

336 (citation and quotations omitted); see, e.g., Fisher II, 136 S. Ct. at 2212 (pointing to “consistent

stagnation in terms of the percentage of minority students”).

        It is this interest in “meaningful representation” of minority students, Grutter, 539 U.S. at 318,

that justifies treating their race as a “‘plus’ factor in the context of individualized consideration of each

and every applicant,” id. at 334. Limiting the preference to a “plus factor” ensures that each person

“is evaluated as an individual and not in a way that makes an applicant’s race or ethnicity the defining

feature of his or her application.” Id. at 337. And, channeling the use of race to achieve critical mass

ensures that preferences are “limited in time” and “have a logical end point.” Id. at 342. Otherwise,



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there would be no need for “sunset provisions” and “periodic reviews to determine whether racial

preferences are still necessary to achieve student body diversity.” Id.

        Harvard has fashioned a system that violates both preconditions. First, Harvard concedes that

it is not using race to achieve the “critical mass” interest. SMF ¶¶ 157-164. Harvard leadership has

never heard the term critical mass used in the context of admissions. SMF ¶ 159. The leaders of the

Admissions Office and of Harvard College do not even know what critical mass means and they have

never used it as part of admissions decisions. SMF ¶¶ 160-162. Of course, then, Harvard neither has

its own definition of critical mass nor has conducted any analysis of how it might obtain critical mass.

SMF ¶ 163. As McGrath testified: “It’s not a term of general use in our deliberations .... It’s not, to

my knowledge, anybody’s specific goal, a critical mass per se.” SMF ¶ 158. Fitzsimmons corroborated

McGrath’s testimony. He testified that Harvard has no “range or quantification of what level of racial

diversity is sufficient to achieve Harvard’s education goals.” SMF ¶ 164.

        That critical mass, as Faust testified, is “not a concept” she had “studied,” and that she has

never heard anyone at Harvard discuss is unsurprising. SMF ¶¶ 160-161. Her lack of insight is the

inevitable byproduct of the way Harvard approaches admissions. For Harvard, race is indispensable.

As Faust put it, evaluating applications “would be impossible” without using race “because a holistic

consideration of a student would require taking race into account.” SMF ¶ 167. Fitzsimmons similarly

testified that race is essential to evaluating applicants—and always will be. SMF ¶ 830. The Supreme

Court has held that critical mass is the only interest compelling enough to permit the use of race

because, at some juncture, “use of racial preferences will no longer be necessary to further the interest”

in diversity. Grutter, 539 U.S. at 343. Harvard simply disagrees and refuses to comply.

        Second, Harvard is not using race merely as a “plus factor.” Race is a “predominant factor,”

Grutter, 539 U.S. at 320, for African-American and Hispanic applicants. The Asian-American applicant

who has a 25% chance of admission (and the white applicant with a 35% chance), see supra at 10, would



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see his chance of admission increase to 75% if he were Hispanic and to 95% if he were African

American. SMF ¶ 737. Even including the (biased) personal rating, when treated like a Hispanic

applicant, the chances of admission for an Asian-American applicant increase by more than 50

percentage points. The increase would be more than 70 percentage points if he were treated like an

African-American applicant. SMF ¶ 738. Race plays such a decisive role in the admissions chances of

Hispanics and African Americans that the percentage of Asian Americans admitted to Harvard would

increase by 40% if all racial preferences and penalties were eliminated. SMF ¶ 740.

       OIR’s findings confirm that race is being used as more than a “plus” factor. In modeling the

admissions process, OIR determined that the “biggest changes to .... class composition for black and

hispanic students comes from consideration of demographics.” SMF ¶ 418. In other words, it is the

factor that most explains the admissions rates for African Americans and Hispanics. Specifically,

adding racial preferences to Harvard’s admissions system resulted in a 140% increase in the Hispanic

share of the class and a 400% increase in the African-American share of the class. SMF ¶ 417. In fact,

one OIR study found that being African American was the second strongest indicator of being

admitted to Harvard. SMF ¶ 448. There is no way to avoid it: race has been and still is an overwhelming

factor in the admissions chances of underrepresented minorities. Even Professor Card agrees that race

plays a “significant role in admissions decisions at Harvard.” SMF ¶ 797. He does not deny that,

without making adjustments to his (flawed) approach, his models show that racial preferences triple

the number of African-American admits and double the number of Hispanic admits. SMF ¶ 799.

       In short, Harvard’s use of race is the worst system imaginable. Harvard labels every applicant

by race. Harvard uses racial preferences with no goal the Supreme Court finds compelling or logical

endpoint in mind, and Harvard defiantly plans to do so forever. And, for Hispanic and African-

American applicants, race is far more than a non-predominant “plus” factor. Harvard’s policy simply

bears none of “the hallmarks of a narrowly tailored plan.” Grutter, 539 U.S. at 334.



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        D.      Harvard neither gave serious, good faith consideration to nor took advantage
                of workable race-neutral alternatives.

        Harvard has not fulfilled its obligation with respect to race-neutral alternatives. First, Harvard

did not consider non-racial approaches “before turning to racial classifications.” Fisher I, 570 U.S. at 312

(emphasis added). Harvard has known since Grutter that it must give “serious, good faith consideration

[to] workable race-neutral alternatives.” 539 U.S. at 339-40. Yet between 2003 and 2014, Harvard

never did so. SMF ¶¶ 806-812. McGrath was asked in her 2015 deposition: “Has the admissions office

ever discussed the possibility of going to a race-blind admissions system?” She answered: “I don’t

recall ever a discussion on the admissions committee about that.” She was then asked: “Do you have

a view as to whether or not a race-blind admissions process would be beneficial or detrimental to

diversity on campus?” Her response: “A. As the director of admissions? Q. Yes. A. I don’t know

whether it would. I can’t—I don’t have a hunch on that.” SMF ¶ 807. Discovery confirms McGrath’s

testimony. Harvard never formed a committee or commissioned a study. It never even had a “formal

discussion.” SMF ¶ 810. Harvard just ignored the Supreme Court’s instructions.

        Until prodded by SFFA, Harvard did not examine race-neutral alternatives even after Fisher I

despite the fact that James Ryan (Dean of Harvard’s Graduate School of Education) implored it to do

so. SMF ¶¶ 801-805. Ryan co-authored an article in the Chronicle of Higher Education entitled “Heeding

the Court’s Warning in Fisher” urging colleges to examine race-neutral alternatives in good-faith. SMF

¶¶ 803-805. Ryan forwarded the article to Fitzsimmons and Faust, encouraging them to heed the

article’s warning: “Few institutions are currently prepared to answer the questions that courts will soon

be asking. If they fail to prepare convincing answers, they will lose. And, having been put on notice,

responsibility for that loss will be with our university leaders, not the courts.” SMF ¶¶ 802, 805.

        Harvard did not begin investigating race-neutral alternatives until the day after the Harvard

Not Fair website (www.harvardnotfair.org) went live on April 7, 2014. SMF ¶ 813. The following day,

April 8, 2014, Harvard’s General Counsel scheduled a meeting with Fitzsimmons, McGrath, and


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others to discuss “Fisher and the possibility of a lawsuit against Harvard.” This meeting occurred on

April 24, 2014. SMF ¶ 814. But the effort was neither “serious” nor in “good faith.” The steps Harvard

took were in response to litigation—not a genuine exploration of alternatives to racial preferences.

Harvard, after all, had already decided that race will always be indispensable to its process. See supra at

40. Indeed, Dean Smith testified that race was part of an applicant’s “lived experience,” and he could

think of no “circumstance in which Harvard would not want to use race as a factor in the holistic

admissions process.” SMF ¶ 828.

        Harvard thus cast out to create a record—after the fact—to support a preordained outcome.

Harvard’s first move was to form the “Ryan Committee” to examine race-neutral alternatives. SMF

¶¶ 816-817. Harvard has been permitted to withhold most documents relating to the Ryan Committee

on attorney-client privilege grounds and instructed witnesses not to answer questions about its work.

All SFFA knows is that the Ryan Committee met only three times between June 2014 and December

2014; it was disbanded in December 2014—less than a month after SFFA filed suit; it produced no

written work; and it formed no conclusions (formal or otherwise) as to the availability of race-neutral

alternatives. SMF ¶¶ 819-824. It is as if the Ryan Committee never existed.

        It was not until June 2017 (two and a half years after the Ryan Committee disbanded and five

years after Fisher I) that Harvard formed a new race-neutral committee chaired by Dean Smith. SMF

¶¶ 825-826. Conveniently, the Smith Committee was formed just as discovery closed. And, unlike the

Ryan Committee, which had dozens of members, SMF ¶ 818, the Smith Committee had only three—

Smith, Khurana, and Fitzsimmons—who often met in the General Counsel’s Office. In fact, counsel

attended most meetings to cloak the process with the attorney-client privilege. SMF ¶ 836.

        The Committee met seven times between June 2017 and April 2018; no minutes were kept;

almost no member took notes; any documentation of its work was handled by litigation counsel; and

those notes have been withheld as privileged. The Committee neither collected data nor ran



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simulations; it neither took testimony nor conducted interviews; it made no inquiry into whether racial

preferences were helping Harvard students succeed academically; and Committee members never

disagreed or recommended policy changes. The Committee instead rubber stamped the expert reports,

and then instructed WilmerHale to draft a report parroting Professor Card’s findings. SMF ¶ 831-848.

The enterprise—from start to finish—was a charade. If this is “serious, good faith” consideration of

race-neutral alternatives, then strict scrutiny is indeed “strict in theory but feeble in fact.” Fisher I, 570

U.S. at 314. Harvard may not outsource its “academic freedom.” Grutter, 539 U.S. at 324.

        These machinations were required because there is now powerful research from across the

ideological spectrum that racial preferences are not necessary to achieve diversity. SMF ¶¶ 851-852.

Richard Kahlenberg (SFFA’s expert) determined that Harvard is no exception. He found that Harvard

can easily achieve diversity by increasing socioeconomic preferences; increasing financial aid; reducing

or eliminating preferences for legacies, donors, and relatives of faculty and staff; adopting policies

using geographic diversity; increasing recruitment efforts; increasing community college transfers;

and/or eliminating early action. SMF ¶ 858-882.

        The Smith Committee’s response to Mr. Kahlenberg’s proposals only highlights Harvard’s bad

faith. None of these alternatives is workable, the Committee claims, because: (1) African-American

enrollment would drop from 14% to 6%; (2) transitioning to socioeconomic preferences would make

“the proportion of admitted students with the highest academic ratings ... drop from 76% to 66%”;

and, (3) Harvard “could not significantly increase its financial aid budget” in order to attract more

minority applicants “without detracting from other commitments.” SMF ¶ 845. Those claims are

flawed. This decline in African-American enrollment would occur only if Harvard eliminated racial

preferences but refused to employ race-neutral alternatives. With them, African-American enrollment

remains strong. SMF ¶ 884. Harvard’s academic reputation would remain undiminished. SMF ¶ 888-

890. Harvard also has the financial wherewithal to increase financial aid. SMF ¶ 896.



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        More importantly, Harvard’s claims highlight that it still cannot get its story straight after four

years of litigation. Harvard claims to worry about minority representation on its campus. But when

Faust was asked whether Harvard’s “admissions policy is ... concerned with the overall representation

of particular groups,” she was emphatic it is not, and Smith testified that Harvard is “not looking for

any particular number,” SMF ¶ 885. Harvard repeatedly chides SFFA for emphasizing the academic

qualifications of Asian-American applicants. Apparently, however, academics are paramount again

when it comes to rejecting race-neutral alternatives. Harvard proclaims that its $37 billion endowment

means it can be need-blind in admissions. SMF ¶ 896. But now Harvard is supposedly too poor to

increase financial aid so that it may attract more disadvantaged applicants. It is difficult to imagine

better evidence of pretext for racial discrimination than the Smith Committee report.

        In the end, the dissembling confirms that Harvard’s moral compass is broken. Race-neutral

alternatives would increase socioeconomic diversity—the number of first-generation college students

admitted to Harvard would more than triple, and the number of admitted disadvantaged students

would more than double. They would make Harvard more racially diverse; indeed, the number of

Hispanic applicants admitted to Harvard would increase. Furthermore, race-neutral policies would

open the door of opportunity to disadvantaged minority applicants who Harvard’s current system

shuts out in favor of wealthier minority applicants from elite high schools. SMF ¶¶ 895-890. Harvard

would truly become the broadly diverse community it already professes to be. But Harvard is

uninterested in any of that. Because it would mean that Harvard would no longer be in the business

of classifying people on the basis of their race. As the record definitively establishes, Harvard cannot

begin to imagine what that world might look like.

V.      CONCLUSION

      For the foregoing reasons, SFFA respectfully requests that the Court grant it summary judgment

on all counts.



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Dated: June 15, 2018                                             Respectfully submitted,



                                                                /s/ William S. Consovoy
Adam K. Mortara                                                  William S. Consovoy
BARTLIT BECK HERMAN PALENCHAR & SCOTT LLP                        Thomas R. McCarthy
54 West Hubbard Street, Suite 300                                J. Michael Connolly
Chicago, IL 60654                                               CONSOVOY MCCARTHY PARK PLLC
312.494.4400                                                     3033 Wilson Boulevard, Suite 700
adam.mortara@bartlit-beck.com                                    Arlington, Virginia 22201
                                                                 703.243.9423
John M. Hughes                                                   will@consovoymccarthy.com
BARTLIT BECK HERMAN PALENCHAR & SCOTT LLP                        tom@consovoymccarthy.com
1801 Wewatta Street, Suite 1200                                  mike@consovoymccarthy.com
Denver, CO 80202
303.592.3100                                                     Patrick Strawbridge BBO #678274
john.hughes@bartlit-beck.com                                     CONSOVOY MCCARTHY PARK PLLC
                                                                 Ten Post Office Square
Paul M. Sanford BBO #566318                                      8th Floor South PMB #706
BURNS & LEVINSON LLP                                             Boston, MA 02109
One Citizens Plaza, Suite 1100                                   617.227.0548
Providence, RI 02903                                             patrick@consovoymccarthy.com
617.345.3000
psanford@burnslev.com                                            Michael H. Park
                                                                 CONSOVOY MCCARTHY PARK PLLC
                                                                 745 Fifth Avenue, Suite 500
                                                                 New York, NY 10151
                                                                 212.247.8006
                                                                 park@consovoymccarthy.com




                       Attorneys for Plaintiff Students for Fair Admissions, Inc.
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                                   CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                 /s/ William S. Consovoy
                                                 William S. Consovoy
